      Case 4:20-cr-00022-RSB-CLR Document 212 Filed 11/02/20 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION

THE UNITED STATES OF AMERICA,                       )
                                                    )
       Plaintiff,                                   )
v.                                                  )       4:20cr22-4
                                                    )
STACEY BENTON,                                      )
                                                    )
      Defendant.                                    )


                                          ORDER


       Counsel in the above-captioned case has advised the Court that all pretrial motions filed

on behalf of the defendant have been complied with and/or resolved by agreement. Therefore, a

hearing in this case is deemed unnecessary.

       IT IS ORDERED that all pretrial motions filed on behalf of the defendant, Stacey

Benton, are DISMISSED.

       SO ORDERED, this WK day of October 2020.




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                                                     OPH
                                                       PHER L. RAY
                                              UNITED STATE
                                                      STATES
                                                           ES MAGISTRATE JUDGE
                                              SOUTHERN DISTRICT OF GEORGIA
